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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                         Chapter 11

FTX TRADING LTD., et al., 1                                    Case No. 22-11068 (JTD)

         Debtors.                                              (Jointly Administered)

                                                               Hearing Date: November 20, 2024 at 2:00 p.m. ET
                                                               Objection Deadline: October 22, 2024 at 4:00pm ET



      MOTION OF DEBTORS FOR ENTRY OF AN ORDER (A) AUTHORIZING THE
     DEBTORS TO ENTER INTO STIPULATION OF SETTLEMENT WITH THE GAP
    ENTITIES, (B) APPROVING THE SETTLEMENT, AND (C) GRANTING RELATED
                                  RELIEF

                  FTX Trading Ltd. and its affiliated debtors and debtors-in-possession

(collectively, the “Debtors”) hereby submit this motion (the “Motion”) for an order, substantially

in the form attached hereto as Exhibit A (the “Order”), pursuant to section 105(a) of title 11 of

the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”) and Rule 9019 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) authorizing the Debtors to

enter into the stipulation of settlement, attached as Exhibit 1 to the Order (the “Settlement”), 2

between and among (i) the Debtors, and (ii) Guarding Against Pandemics, Inc. (“GAP”), a

Delaware corporation, People for Progressive Governance, Inc., a Delaware corporation,

Defending America Together, Inc., a Delaware corporation, Building a Stronger Future, Inc., a

Delaware corporation, Prosperity Through Enterprise, Inc., a Delaware corporation, Center for




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     The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
     4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
     Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
     list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
     https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
     Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
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     Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to such terms in the
     Settlement.
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the Future, Inc., a Delaware corporation, Planning for Tomorrow, Inc., a Delaware corporation,

and Bughouse Strategy LLC, a Delaware limited liability company (collectively the “GAP

Entities,” and together with the Debtors, the “Parties”). In support of the Motion, the Debtors

respectfully state as follows:

                                     Preliminary Statement

               1.      The Debtors have the opportunity to recover now approximately

$3,400,000 in value for stakeholders, with the potential to recover up to an additional

approximately $335,000 by September 2025, without needing to commence litigation following

constructive negotiations with the GAP Entities.

               2.      This settlement relates to the transfer of approximately $60 million by the

Debtors to the GAP Entities between September 2020 and October 2022. GAP is a tax-exempt

entity with the stated mission of mitigating global pandemic-related risks that was at all relevant

times run by Gabriel Bankman-Fried, Samuel Bankman-Fried’s younger brother. The remaining

GAP Entities are a collection of Delaware entities formed at the direction of Samuel Bankman-

Fried.

               3.      The Settlement is in the best interests of the Debtors’ estates, creditors and

stakeholders, and should be swiftly consummated. Approval of the Settlement will resolve the

Debtors’ claims against the GAP Entities and deliver significant recovery while avoiding the

expense, uncertainty, and burden of litigation. The Debtors will recover now approximately

$3,400,000, with the potential for a maximum total recovery of up to approximately $3,735,000

by September 2025. In addition to the $3,400,000 payable now, the Debtors will also receive

any of the $180,000 in unspent funds remaining after the GAP Entities’ wind down, and any of

the $155,000 in unspent retainers still held in September 2025 by certain law firms representing

the GAP Entities.


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                 4.       Although the Debtors do not believe that a Rule 9019 motion is required

in this circumstance, and that the Settlement could be consummated pursuant to the settlement

procedures order entered by this Court on September 11, 2023 [D.I. 2487], the Debtors are

nonetheless filing the motion in the interest of transparency. The Settlement satisfies Bankruptcy

Rule 9019 and should be approved.

                                                 Background

                 5.       On November 11 and November 14, 2022 (as applicable, the “Petition

Date”), 3 the Debtors filed with the United States Bankruptcy Court for the District of Delaware

(the “Court”) voluntary petitions for relief under the Bankruptcy Code. The Debtors continue to

operate their businesses and manage their properties as debtors-in-possession pursuant to

sections 1107(a) and 1108 of the Bankruptcy Code. Joint administration of the Debtors’ cases

(the “Chapter 11 Cases”) was authorized by the Court by entry of an order on November 22,

2022 [D.I. 128]. On December 15, 2022, the Office of the United States Trustee for the District

of Delaware, appointed the Official Committee of Unsecured Creditors in the Debtors’ Chapter

11 Cases, pursuant to section 1102 of the Bankruptcy Code [D.I. 231] (the “Official

Committee”).

                 6.       Additional factual background relating to the Debtors’ businesses and the

commencement of these Chapter 11 Cases is set forth in the Declaration of John J. Ray III in

Support of Chapter 11 Petitions and First Day Pleadings [D.I. 24], the Declaration of Edgar W.

Mosley II in Support of Chapter 11 Petitions and First Day Pleadings [D.I. 57], the

Supplemental Declaration of John J. Ray III in Support of First Day Pleadings [D.I. 92] and the

Supplemental Declaration of Edgar W. Mosley II in Support of First Day Pleadings [D.I. 93].




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    November 11, 2022 is the Petition Date for all Debtors, except for Debtor West Realm Shires Inc.

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                7.     On December 4, 2022, the Ad Hoc Committee of Non-US Customers of

FTX.com (the “Ad Hoc Committee”) noticed their appearance [D.I. 185].

                                            Jurisdiction

                8.     The Court has jurisdiction to consider this Motion pursuant to 28 U.S.C.

§§ 157 and 1334 and the Amended Standing Order of Reference from the United States District

Court for the District of Delaware, dated February 29, 2012. This matter is a core proceeding

pursuant to 28 U.S.C. § 157(b). Venue is proper in the Court pursuant to 28 U.S.C. §§ 1408 and

1409. The statutory predicates for the relief requested herein are section 105(a) of the

Bankruptcy Code and Bankruptcy Rule 9019. Pursuant to Local Rule of Bankruptcy Practice

and Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local

Rules”) 9013-1(f), Debtors consent to the entry of a final order or judgment by the Court in

connection with this Motion to the extent it is later determined that the Court, absent consent of

the parties, cannot enter final orders or judgments consistent with Article III of the United States

Constitution.

                                         Relief Requested

                9.     By this Motion, Debtors request entry of the Order, substantially in the

form attached hereto as Exhibit A, (a) authorizing the Debtors to enter into the Settlement,

(b) approving the Settlement, and (c) granting certain related relief.

                             Facts Specific to the Relief Requested

                10.    Prior to the Petition Date, between September 2020 and October 2022, the

Debtors transferred a total of $61,742,404.06 to the GAP Entities (the “Transfers”). The GAP

Entities used the Transfers to, among other things, make “charitable” contributions, and pay their

employees and advisors. On April 18, 2022, GAP purchased a townhouse located at 420 3rd

Street, N.E., Washington, DC 20002 (the “Property”) with proceeds from the Transfers.


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                 11.      The Debtors believe they have meritorious claims to avoid and recover the

Transfers, and related claims arising out of the Transfers. The GAP Entities dispute these claims

and have raised certain defenses.

                 12.      On July 6, 2023, GAP and the Debtors entered into an agreement pursuant

to which the proceeds of any sale of the Property would be held in escrow pending a mutually

agreeable resolution of any claims between GAP and the Debtors with respect to the Property

(the “Escrow Agreement”). On July 7, 2023, the Property was sold and the proceeds of the sale

were placed in escrow pursuant to the Escrow Agreement (the “Escrowed Funds”). As of June 1,

2024, the Escrowed Funds totaled $2,763,679.28.

                 13.      As of August 5, 2024, the GAP Entities had in their possession

approximately $879,229.91 in unspent funds from the Transfers (the “Unspent Funds”) and no

reasonable prospect of obtaining additional funds, other than the return of no more than $155,000

in unspent retainers paid to the Excepted GAP Advisors listed in Paragraph Two of the

Settlement (the “Unspent Retainers”).

                 14.      The Parties have engaged in good faith, arm’s-length negotiations to

resolve the claims. Through those negotiations, the GAP Entities have cooperated with the

Debtors and worked in good faith to expeditiously reach a consensual resolution. As a result of

those negotiations, the Parties have agreed to enter into the Settlement.

                 15.      The key terms of the Settlement provide, among other things, that: 4

                 •     Within fourteen (14) days of the Effective Date, GAP and Alameda shall send
                       a letter directing the escrow agent for the Escrowed Funds to wire to the FTX
                       Debtors the Escrowed Funds, totaling approximately $2,763,679;

                 •     Within thirty (30) days of the Effective Date, or such other time as provided in
                       the Settlement, the GAP Entities shall transfer to the Debtors $700,000 (the
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    The summary of the Settlement contained herein is qualified in its entirety by the actual terms and conditions of
    the Settlement. To the extent that there is any conflict between any summary contained herein and the actual
    terms and conditions of the Settlement, the actual terms and conditions of the Settlement shall control.

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                     “Initial Settlement Amount”), representing approximately 80% of the GAP
                     Entities’ remaining cash. The GAP Entities will retain approximately
                     $180,000 in cash for potential wind-up costs. Five (5) business days after
                     approval of the Settlement by the Bankruptcy Court , the GAP Entities will
                     transfer to the Debtors the remainder of the $180,000 in Unspent Funds then
                     held by the GAP Entities (the “October 2024 Payment”). On or before
                     September 30, 2025, Ballard Spahr LLP, the Law Firm of Andrew D. Herman
                     PLLC, Berke Farah LLP, and Clayman Rosenberg Kirshner & Linder LLP
                     (the “Excepted GAP Advisors”) will transfer to the FTX Debtors the
                     remainder of the $155,000 in Unspent Retainers still held by them (the
                     “September 2025 Payment”);

               •     Upon receipt by the Debtors of the October 2024 Payment, (i) the Debtors and
                     the GAP Entities mutually release the other in connection with the Transfers
                     to the GAP Entitles as set forth in Appendix B to the Settlement; (ii) the
                     Debtors releases the GAP Employees in connection with the transfers to the
                     GAP Employees set forth in Appendix C of the Settlement; and (iii) the
                     Debtors release the GAP Advisors (other than the Excepted GAP Advisors)
                     relating to the transfers set forth in Appendix C of the Settlement; and

               •     Upon receipt by the Debtors of the September 2025 Payment, the Debtors
                     release the Excepted GAP Advisors relating to the transfers set forth in
                     Appendix C of the Settlement and in connection with the Unspent Retainers.

               16.      The Settlement expressly provides that the Debtors do not release any

claims they may have against Samuel Bankman-Fried, Gabriel Bankman-Fried, Joseph Bankman

or Barbara Fried.


                                          Basis for Relief

I.     The Settlement Satisfies Bankruptcy Rule 9019 Because It Is Fair, Reasonable and in
       the Debtors’ Best Interests.

               17.      Resolution of the Debtors’ claims against the GAP Entities through the

Settlement is in the best interests of the Debtors and their estates because it will promptly return

approximately $3,400,000—representing the $2,763,679 in Escrowed Funds and $700,000 of the

GAP Entities’ remaining cash—to the Debtors’ estates. Five business days after approval of the

Settlement by the Bankruptcy Court, the GAP Entities will return to the Debtors any of the

approximately $180,000 in Unspent Funds remaining after their wind down. Further, by


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September 30, 2025, the Excepted GAP Advisors shall return to the Debtors any of the

approximately $155,000 in Unspent Retainers they still hold. This return exceeds that which the

Debtors would likely obtain in litigation given the GAP Entities representations about (i) its

limited remaining funds and plans to wind down, and (ii) the substantial drain on the GAP

Entities’ remaining resources that would result from further litigation. The Settlement is thus a

reasonable exercise of the Debtors’ business judgment satisfying Bankruptcy Rule 9019.

               18.     Bankruptcy Rule 9019(a) provides, in relevant part, that “[o]n motion by

the trustee and after notice and a hearing, the court may approve a compromise or settlement.”

Fed. R. Bankr. P. 9019(a). Compromises and settlements are “a normal part of the process of

reorganization.” Protective Comm. for Indep. Stockholders of TMT Trailer Ferry, Inc. v.

Anderson, 390 U.S. 414, 424 (1968) (TMT Trailer Ferry) (quoting Case v. L.A. Lumber Prods.

Co., 308 U.S. 106, 130 (1939)). The compromise or settlement of litigation, especially in the

bankruptcy context, is encouraged and “generally favored in bankruptcy” as such settlements

“minimize litigation and expedite the administration of the estate.” In re World Health Alts.,

Inc., 344 B.R. 291, 295-96 (Bankr. D. Del. 2006).

               19.     “[T]he decision whether to approve a compromise under [Bankruptcy]

Rule 9019 is committed to the sound discretion of the Court, which must determine if the

compromise is fair, reasonable, and in the interest of the estate.” In re Louise’s, Inc., 211 B.R.

798, 801 (D. Del. 1997). Courts should not, however, substitute their judgment for that of the

debtor, but instead should canvass the issues to see whether the compromise falls below the

lowest point in the range of reasonableness. See In re Neshaminy Office Bldg. Assocs., 62 B.R.

798, 803 (E.D. Pa. 1986); In re W.T. Grant and Co., 699 F.2d 599, 608 (2d Cir. 1983); see also

In re World Health, 344 B.R. at 296 (“[T]he court does not have to be convinced that the

settlement is the best possible compromise. Rather, the court must conclude that the settlement

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is ‘within the reasonable range of litigation possibilities.’”) (internal citations omitted). Taken

together, section 105(a) and Bankruptcy Rule 9019(a) grant a bankruptcy court the power to

approve a proposed compromise and settlement when it is in the best interests of the debtor’s

estate and its creditors. See In re Marvel Ent. Grp., Inc., 222 B.R. 243, 249 (D. Del. 1998); In re

Louise’s, Inc., 211 B.R. at 801.

                20.     The Third Circuit Court of Appeals has enumerated four factors that

should be considered in determining whether a compromise should be approved: “(1) the

probability of success in litigation; (2) the likely difficulties in collection; (3) the complexity of

the litigation involved, and the expense, inconvenience and delay necessarily attending it; and

(4) the paramount interest of the creditors.” In re Martin, 91 F.3d 389, 393 (3d Cir. 1996);

accord In re Nutraquest, Inc., 434 F.3d 639, 644 (3d Cir. 2006) (finding that the Martin factors

are useful when analyzing a settlement of a claim against the debtor as well as a claim belonging

to the debtor); see also TMT Trailer Ferry, 390 U.S. at 424; In re Marvel Ent. Grp., Inc., 222

B.R. at 243 (proposed settlement held in best interest of the estate); In re Mavrode, 205 B.R.

716, 721 (Bankr. D.N.J. 1997). The test boils down to whether the terms of the proposed

compromise fall “within a reasonable range of litigation possibilities.” In re Washington Mut.,

Inc., 442 B.R. 314, 328 (Bankr. D. Del. 2011); see In re Pa. Truck Lines, Inc., 150 B.R. 595, 598

(E.D. Pa. 1992) (citations omitted).

                21.     In addition, Bankruptcy Code section 105(a) provides, in pertinent part,

that the “[c]ourt may issue any order, process, or judgment that is necessary or appropriate to

carry out the provisions” of the Bankruptcy Code. 11 U.S.C. § 105(a).

                22.     The terms of the proposed Settlement fall well within the range of

reasonableness and should be approved by the Court. The terms of the Settlement provide for

the return now of approximately $3,400,000, with the potential for a maximum total settlement

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of approximately $3,735,000, while avoiding the risks of litigation, the time and expense of

pursuing the claims against the GAP Entities, and further dissipation of the GAP Entities’ assets.

Accordingly, the compromises set forth in the Settlement are, in the aggregate, fair and equitable,

fall well within the range of reasonableness, and satisfy each applicable Martin factor.

               a.      The Probability of Success in Litigation and Subsequent Collection.

               23.     The Debtors maintain that they have meritorious claims to recover the full

amount of the Transfers. However, the Debtors would need to spend significant time and

resources proving their claims and obtaining a favorable judgment against the GAP Entities.

Among other arguments, the GAP Entities may contest the Debtors’ assertions with respect to

insolvency at all relevant times, the nature and purpose of the transfers to the GAP Entities, as

well as whether the Debtors received reasonably equivalent value in return. The return expected

under the Settlement exceeds that which Debtors would likely obtain in litigation given the GAP

Entities representations about (i) its limited remaining funds and inability to raise additional

funds, (ii) the substantial drain on the GAP Entities’ resources that would result from further

litigation. As a result, the Debtors’ recovery from litigation of the claims against the GAP

Entities may not exceed the value to be realized for the Debtors’ estates through the Settlement

even if they pursued litigation and prevailed on every issue.

               24.     Given the attendant risks and costs of litigation, and the favorable terms of

the settlement, the Debtors submit that the proposed Settlement is in the best interests of the

Debtors’ estates.

               b.      The Complexity of the Litigation and the Attendant Expense,
                       Inconvenience, and Delay Are Unwarranted.

               25.     Litigation of the Debtors’ claims against the GAP Entities would be

complex, expensive, and time-consuming. Pursuit of the claims would require litigating the

sufficiency of evidence for various theories of recovery for multiple transfers, including the

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circumstances of each transfer and the intent of Samuel Bankman-Fried and others in connection

with these transfers. The other former FTX executives are unlikely to be available to testify on

issues relating to the claims in the near term due to their ongoing criminal proceedings and, in

Samuel Bankman-Fried’s case, his incarceration, which further complicates the litigation and

timing of resolution.

               c.       The Paramount Interests of Creditors are Served.

               26.      The Settlement is in the best interests of the Debtors’ creditors because it

brings approximately $3,400,000 now—and the potential for up to approximately $3,735,000—

into the Debtors’ estates without time consuming and costly litigation. The Settlement further

requires that all remaining Unspent Funds be returned five business days after approval of the

Settlement by the Bankruptcy Court and Unspent Retainers be returned to the Debtors no later

than September 30, 2025.

               27.      Therefore, in the Debtors’ business judgment, the value of entering into

the Settlement exceeds the net benefits that the Debtors and their estates potentially could obtain

by pursuing litigation of claims against the GAP Entities. Based on the foregoing, the Debtors

submit that the Settlement satisfies the Martin factors and Bankruptcy Rule 9019 because it is

fair, reasonable, and in the best interests of the Debtors, their estates, and their stakeholders. As

a result, the Debtors respectfully request that the Court authorize the Debtors to enter into the

Settlement and approve its terms.

                               Waiver of Bankruptcy Rule 6004(h)

               28.      Given the nature of the relief requested herein, the Debtors respectfully

request a waiver of the 14-day stay under Bankruptcy Rule 6004(h) to the extent such stay

applies. Pursuant to Bankruptcy Rule 6004(h), “[a]n order authorizing the use, sale, or lease of

property other than cash collateral is stayed until expiration of 14 days after entry of the order,


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unless the court orders otherwise.” For the reasons described above, the Debtors submit that

ample cause exists to justify a waiver of the 14-day stay to the extent such stay applies.

                                       Reservation of Rights

                29.     Nothing in this Motion: (a) is intended or shall be deemed to constitute an

assumption of any agreement pursuant to section 365 of the Bankruptcy Code or an admission as

to the validity of any claim against the Debtors or their estates; (b) shall impair, prejudice, waive,

or otherwise affect the rights of the Debtors or their estates to contest the validity, priority, or

amount of any claim against the Debtors or their estates; or (c) shall otherwise impair, prejudice,

waive, or otherwise affect the rights of the Debtors or their estates with respect to any and all

claims or causes of action against any third party except as otherwise set forth herein or in the

Settlement.

                                                Notice

                30.     Notice of this Motion has been provided to: (a) the U.S. Trustee;

(b) counsel to the Official Committee; (c) counsel to the Ad Hoc Committee; (d) the Securities

and Exchange Commission; (e) the Internal Revenue Service; (f) the United States Department

of Justice; (g) the United States Attorney for the District of Delaware; (h) counsel to the GAP

Entities; (i) counsel for the Joint Official Liquidators of FTX Digital Markets Ltd.; (j) the United

States Attorney for the Southern District of New York; and to the extent not listed herein,

(k) those parties requesting notice pursuant to Bankruptcy Rule 2002. The Debtors submit that,

in light of the nature of the relief requested, no other or further notice need be provided.

                                             Conclusion

                WHEREFORE, for the reasons set forth herein, the Debtors respectfully request

that the Court (a) enter the Order, substantially in the form attached hereto as Exhibit A, and

(b) grant such other and further relief as is just and proper.


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Dated: October 8, 2024            LANDIS RATH & COBB LLP
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